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 6   Interim Co-Lead Consumer Class Counsel

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 8
                                  UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                     SAN FRANCISCO DIVISION
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     MAXIMILLIAN KLEIN, et al.,                      Case No. 20-cv-08570-JD
12
                                       Plaintiffs,
13                                                    DECLARATION OF STEVE W.
14            v.                                      BERMAN IN SUPPORT OF
                                                      APPLICATION FOR APPOINTMENT
15   META PLATFORMS, INC.,                            AS INTERIM LEAD CONSUMER
                                                      CLASS COUNSEL BY SHANA E.
16                                    Defendant.      SCARLETT OF HAGENS BERMAN
                                                      SOBOL SHAPIRO LLP, OR IN THE
17                                                    ALTERNATIVE, SHANA E.
18                                                    SCARLETT AND REBECCA A.
                                                      PETERSON OF LOCKRIDGE
19                                                    GRINDAL NAUEN P.L.L.P.

20
     This document relates to:
21

22         All Consumer Actions

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     BERMAN DECL. ISO SCARLETT APPL. FOR
     APPOINTMENT AS INTERIM LEAD COUNSEL
     Case No. 20-CV-08570-JD
         Case 3:20-cv-08570-JD Document 440-2 Filed 02/03/23 Page 2 of 3




 1            I, Steve W. Berman, declare as follows:

 2             1.        I am an attorney duly licensed to practice law before this Court. I am a member of

 3    the Washington Bar, and I have been admitted to this Court pro hac vice. I am the managing partner

 4    of Hagens Berman Sobol Shapiro LLP and counsel for Plaintiff Rachel Banks-Kupcho in the above-

 5    entitled action.

 6             2.        I submit this declaration in support of the application for appointment as interim lead

 7    consumer counsel by Shana E. Scarlett of Hagens Berman Sobol Shapiro LLP, or in the alternative,

 8    Shana E. Scarlett and Rebecca A. Peterson of Lockridge Grindal Nauen P.L.L.P. Based on personal

 9    knowledge or discussions with counsel in my firm of the matters stated herein, if called upon, I

10    could and would competently testify thereto.

11             3.        I founded my firm in 1993 and have been lead or co-lead counsel in the largest

12    litigation recovery ever (state tobacco litigation), the largest approved antitrust settlement (In re

13    Visa Antitrust Litigation); and the largest automobile defect settlement at the time (In re Toyota

14    Unintended Acceleration Litigation), to name just a few of the firm’s high profile cases. I have tried

15    numerous class actions including Alston v. NCAA before Judge Wilken, which was affirmed by a

16    unanimous Supreme Court. If Shana Scarlett is appointed co-lead, I will be the lead trial lawyer,

17    with Ms. Scarlett with me on the trial team. I have been involved in this case with my trial hat on,

18    meaning I give input to the direction of the case from a trial perspective.

19             4.        The firm has been devoted to promoting the role of female lawyers, including as lead

20    counsel in significant cases. This last year we named six new partners, five of whom are female

21    attorneys. Our first Management Committee, formed in 2000, was comprised of four lawyers, three

22    of them are women. Promoting diversity is one of my goals as Managing Partner.

23             5.        During the course of this litigation Ms. Scarlett has mentioned that she believes her

24    work has been dismissed by the Quinn lawyers. We have discussed ways for this attitude to be dealt

25    with, but Ms. Scarlett reports the behavior has not changed. If Ms. Scarlett believes she is not being

26    treated equally, I fully support and encourage her to bring that that to the Court’s attention.

27    Ms. Scarlett acts in a leadership position in many cases and I have not heard her raise this issue

28    previously.
     BERMAN DECL. ISO SCARLETT APPL. FOR
     APPOINTMENT AS INTERIM LEAD COUNSEL
     Case No. 20-CV-08570-JD
         Case 3:20-cv-08570-JD Document 440-2 Filed 02/03/23 Page 3 of 3




 1             6.        I and my firm do not raise this issue lightly. I have several cases where I and/or the

 2    firm are either co-lead with Quinn or we are a co-lead and Quinn is on the Executive Committee.

 3    So, raising this issue in light of our ongoing relationships is not the easy road to take –but it is the

 4    just one.

 5             I declare under penalty of perjury under the laws of the United States that the foregoing is

 6    true and correct. Executed this 3rd day of February 2023 at Seattle, Washington.

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 8                                                                       s/ Steve W. Berman
                                                                        STEVE W. BERMAN
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     BERMAN DECL. ISO SCARLETT APPL. FOR
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